                 IN THE UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF TENNESSEE AT NASHVILLE

ZANDER GROUP HOLDINGS INC. and
JEFFREY J. ZANDER,

     Plaintiffs,

v.                                                       Case No. 3:18-cv-653
                                                         JUDGE CRENSHAW
KATZ, SAPPER & MILLER LLP; KSM                           MAG. JUDGE NEWBERN
BUSINESS   SERVICES  INC.;  and
ANDREW J. MANCHIR,

     Defendants.



                        INITIAL CASE MANAGEMENT ORDER




         A.    JURISDICTION: The court has jurisdiction pursuant to 28 U.S.C.

               §1332.

         B.    BRIEF THEORY OF THE PARTIES

               For Plaintiffs: On or about September 1, 2011, plaintiff Jeffrey J.

        Zander (hereinafter simply “Mr. Zander”) caused one of the partners in JJZ

        Insurance Agency to sell a forty-nine-percent (49%) interest in the partnership

        to Zander Group Holdings Inc. (which is hereinafter referred to as “Zander

        Holdings”) One-hundred percent of the stock of Zander Holdings was then

        purchased by and conveyed to the trustee for the Zander Group Holdings Inc.

        Employee Stock Ownership Plan (or “The ESOP”), an entity formed to hold

        those interests for the benefit of persons working for Zander Insurance Group
                                    {00123555.DOCX / ver: }


                                             -1-

      Case 3:18-cv-00653 Document 19 Filed 09/19/18 Page 1 of 8 PageID #: 238
 pursuant to the applicable provisions of the Employee Retirement Income

 Security Act of 1974. Mr. Zander caused the JJZ Insurance Agency partners,

 of which he was the beneficial owner, as well as Zander Holdings, of which he

 was the president, to enter into the aforementioned ESOP Transaction in

 reliance on advice, including advice as to the structure of the Transaction and

 the propriety of the valuations on which its terms were based, provided by the

 Defendants.

        Subsequently, On August 23, 2017, the United States Secretary of

 Labor commenced an action against the Plaintiffs, Acosta v. Zander Group

 Holdings, Inc. et al, Case No. 3:17-cv-01187, U.S. District Court for the

 Middle District of Tennessee (the “DOL Action”), asserting violations of the

 Employee Retirement Income Security Act of 1974 (or “ERISA”) concerning the

 aforementioned ESOP Transaction. Prior to being notified of the Secretary’s

 allegations, the Plaintiffs were unaware, and lacked either reason or

 opportunity to become aware, of the defects with the ESOP Transaction that

 the Secretary asserts exists or the potential negligence of the Defendants that

 caused those defects if in fact they do exist. Prior to the Secretary notifying the

 Plaintiff of his allegations, no dispute had existed between the Plaintiffs and

 the Defendants concerning the elements of the ESOP Transaction placed at

 issue by the Secretary’s complaint.




                               {00123555.DOCX / ver: }


                                        -2-

Case 3:18-cv-00653 Document 19 Filed 09/19/18 Page 2 of 8 PageID #: 239
        The Plaintiffs have brought the present Complaint for the purpose of

 recouping from the Defendants whatever liability the Plaintiffs may be found to

 have to the Secretary of Labor, but do so in the alternative, maintaining

 primarily (as they do in the action commenced by the Secretary) that they in

 fact are not liable to the Secretary in any respect.

        For Defendants:

        (a)    The Settlement Agreement forbids the filing of all of the causes of

  action asserted in this case, as Jeffrey Zander (“Zander”) and Zander Group

  Holdings, Inc. (“ZGH”) voluntarily released and forever discharged Katz,

  Sapper & Miller, LLP (“the LLP”), KSM Business Services, Inc. (“KSMBS”),

  and Andrew Manchir (“Manchir”) from all causes of action arising out of the

  “consulting services provided by Manchir and KSM relating to the ESOP

  Transaction.”

        (b)    Zander retained 2nd Generation Capital LLC to be the valuation

  company, and did not retain Defendants to perform any valuation service.

        (c)    Defendants relied on the accuracy and reliability of the financial

  data Zander provided, and were not retained to independently evaluate or

  audit the financial data provided by Zander.

        (d)    Zander has independently committed wrongdoing, breached

  various fiduciary duties, engaged in prohibited transactions, and acted on

  behalf of a party whose interests were adverse to the interests of the Zander


                               {00123555.DOCX / ver: }


                                        -3-

Case 3:18-cv-00653 Document 19 Filed 09/19/18 Page 3 of 8 PageID #: 240
  Group Holdings, Inc. Employee Stock Ownership Plan, for which Defendants

  owe no indemnity or contribution obligation to Plaintiffs.

        (e)    Neither Zander nor ZGH have been damaged by the initiation of

  the Secretary of Labor’s Complaint, or will be damaged if the Secretary of

  Labor obtains the relief requested in his Complaint.

  C.    ISSUES RESOLVED:             Jurisdiction and venue.

  D.    ISSUES STILL IN DISPUTE:

        1.     Whether defendants are liable to plaintiffs for any damages
               incurred as a result of the DOL Action, including but not limited
               to costs of litigation, settlement, or satisfaction of any judgment.

  Defendants identify the following disputed issues:

        (a)    Whether the Settlement Agreement forbids the filing of all of the

  causes of action asserted in this case.

        (b)    Whether Defendants owed Plaintiffs any standard of care with

  respect to the valuation services, when Plaintiffs did not retain Defendants to

  perform such valuation services.

        (c)    Whether      Plaintiffs     had      the   reasonable   expectation   that

  Defendants would provide such valuation services despite the fact Plaintiffs

  did not retain Defendants to perform the valuation.

        (d)    Whether Defendants may be held liable for the negligent

  misrepresentation for the inaccuracy and unreliability of the financial data

  provided to Defendants.


                                {00123555.DOCX / ver: }


                                         -4-

Case 3:18-cv-00653 Document 19 Filed 09/19/18 Page 4 of 8 PageID #: 241
        (d)    Whether Defendants owe an indemnity or contribution obligation

  to Plaintiffs for Zander’s own independent wrongdoing, breach of various

  fiduciary duties, involvement in prohibited transactions, and acts on behalf of

  a party whose interests were adverse to the interests of the Zander Group

  Holdings, Inc. Employee Stock Ownership Plan.

        (e)    Whether Plaintiffs have been damaged.


  E.    INITIAL      DISCLOSURES:                The parties shall exchange initial

  disclosures pursuant to Fed. R. Civ. P. 26(a)(1) within thirty (30) days of the

  District Court’s disposition of the pending Motion to Dismiss (Dkt. 16) .

  F.    CASE RESOLUTION PLAN AND JOINT ADR:                            The parties,   in

  accordance with the District Court’s Order (Dkt. 7) shall attempt to resolve

  this case within 120 days of the initial case management conference. If that

  effort is not successful, and the case is not otherwise resolved, the parties shall

   a mediation with a Rule 31 mediator thirty (30) days before the deadline to

  file dispositive motions.

  G.    DISCOVERY:            The parties shall complete all written discovery and

  depose all facts witnesses within 180 days of the District Court’s disposition of

  the pending Motion to Dismiss (Dkt. 16). Discovery is not stayed during

  dispositive or other motions, unless ordered by the Court. No motions

  concerning discovery are to be filed until after counsel have spoken in a good

  faith effort to resolve any dispute(s).              Discovery motions are to be filed
                                  {00123555.DOCX / ver: }


                                           -5-

Case 3:18-cv-00653 Document 19 Filed 09/19/18 Page 5 of 8 PageID #: 242
  in accordance with the practices of the Magistrate Judge, who will resolve all

  disputes. All discovery-related motions shall be filed by no later than 30

  days after the District Court’s disposition of the pending Motion to Dismiss

  (Dkt. 16).

  H.    MOTIONS TO AMEND OR TO ADD PARTIES:                               Any motions to

  amend or to add parties shall be filed by no later than 30 days after the

  Court’s disposition of the pending Motion to Dismiss (Dkt. 16).

  I.    DISCLOSURE OF EXPERTS:                           The plaintiff shall identify and

  disclose all expert witnesses and expert reports on or before 30 days after the

  close of discovery. The defendant shall identify and disclose all expert

  witnesses and reports on or before 30 days after plaintiffs’ disclosure of expert

  witnesses. No supplemental expert reports or rebuttal experts shall be

  allowed, except upon order of the Court for good cause shown.

  J.    DEPOSITIONS OF EXPERT WITNESSES: All expert witnesses

  shall be deposed by no later than 60 days after defendants’ disclosure of expert

  witnesses.

  K.    SUBSEQUENT CASE MANAGEMENT CONFERENCE:                                  A

  Case Management Conference shall be held on January 28, 2019, to address

  status of discovery (including any discovery issues or disputes), prospects for

  settlement (including propriety of ADR), and any other appropriate matters.




                               {00123555.DOCX / ver: }


                                        -6-

Case 3:18-cv-00653 Document 19 Filed 09/19/18 Page 6 of 8 PageID #: 243
  L.    DISPOSITIVE MOTIONS: Dispositive motions shall be filed no later

  than 60 days after the close of discovery. Responses to dispositive motions

  shall be filed within 28 days after the filing of the motion. Briefs or

  memoranda of law in support of or in opposition to a dispositive motion shall

  not exceed 25 pages. Optional replies may be filed within 14 days after the

  filing of the response and shall not exceed 5 pages. No motion for partial

  summary judgment shall be filed except upon leave of court. Any party

  wishing to file such a motion shall first file a separate motion that gives the

  justification for filing a partial summary judgment motion in terms of overall

  economy of time and expense for the parties, counsel and the Court. In all

  other respects, the provisions of Local Rule 56.01 shall govern.

  M.    ELECTRONIC DISCOVERY: The parties anticipate reaching an

  agreement on how to conduct electronic discovery. Administrative Order No.

  174 therefore need not apply to this case. However, in the absence of an

  agreement, the default standards of Administrative Order No. 174 will apply.

  N.    ESTIMATED TRIAL TIME AND TARGET TRIAL DATE: The jury

  trial of this action is expected to last approximately five (5) days. A trial date

  no later than December 31, 2020, is requested.

        It is so ORDERED.

                                     ______________________________________
                                     Alistair E. Newbern
                                     United States Magistrate Judge


                               {00123555.DOCX / ver: }


                                        -7-

Case 3:18-cv-00653 Document 19 Filed 09/19/18 Page 7 of 8 PageID #: 244
Approved for Entry:

s/Eugene N. Bulso, Jr.
Eugene N. Bulso, Jr. (#12005)
Paul J. Krog (#29263)
Leader, Bulso & Nolan, PLC
414 Union Street, Suite 1740
Nashville, TN 37219
(615) 780-4100
Gbulso@leaderbulso.com
Pkrog@leaderbulso.com
Attorneys for Plaintiffs

s/ Richard Glassman
Richard Glassman (#7815)
GLASSMAN, WYATT, TUTTLE & COX, P.C.
26 N. Second Street
Memphis, TN 38103
901.527.2156 (o)
901.521.0940 (f)
jstokes@gwtclaw.com
Attorneys for Defendants




                                {00123555.DOCX / ver: }


                                         -8-

   Case 3:18-cv-00653 Document 19 Filed 09/19/18 Page 8 of 8 PageID #: 245
